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10   Counsel for Plaintiff and the Proposed Class
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13                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
14
15   MIGUEL RODRIGUEZ, on behalf of himself, Case No. 17-cv-2447-MMA-WVG
     all others similarly situated, and the general
16
     public,                                        NOTICE OF MOTION FOR
17                                                  APPROVAL OF CLASS ACTION
            Plaintiff,                              SETTLEMENT
18
19                     v.                           [Fed. R. Civ. P. 23(b)(2), 23(e)]

20                                                  Judge:            Hon. Michael M. Anello
     BUMBLEE BEE FOODS, LLC,
                                                    Hrg. Date:        March 12, 2018
21                                                  Time:             2:30 p.m.
                 Defendant.
22                                                  Location:         Courtroom 3D
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              Rodriguez v. Bumble Bee Foods, LLC, No. 17-cv-2447-MMA-WVG
          NOTICE OF MOTION FOR APPROVAL OF CLASS ACTION SETTLEMENT
 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE THAT, on March 12, 2018, at 2:30 p.m., or as soon
 3   thereafter as may be heard, in Courtroom 3D, before the Honorable Michael M. Anello,
 4   plaintiff Miguel Rodriguez will, and hereby does respectfully move the Court pursuant to
 5   Fed. R. Civ. P. 23(e) for approval of a proposed class action settlement.
 6         The Motion is based on this Notice of Motion, the concurrently-filed Declaration of
 7   Jack Fitzgerald, and all prior pleadings and proceedings had in the matter.
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 9   Dated: February 1, 2018         /s/ Jack Fitzgerald
10                                   THE LAW OFFICE OF JACK FITZGERALD, PC
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